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                        UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF PENNSYLVANIA



                                                                Civil Action
                                                                No: S- , ! ? - C. V -    OQ )' 7S­

                                                                                                 f'1 fI18
                          DISCLOSURE STATEMENT FORM

Please check one box:

             The nongovernmental corporate party, ~g:e~~i::il ~::::::!:~~:r:~"'~'!t'fo..h
             , in the above listed civil action does not have a y parent corporation and
             publicly held corporation that owns 10% or more of its stock.

             The nongovernmental corporate party, [ '~               ,;t     ~ L L-C,
             , in the above listed civil action has the following par"Jlit. corporation(s) and
             publicly held corporation(s) that owns 10% or more of its stock:




      Date




             (2)    states that there is no such corporation.

      (b) TIME To FILE; SUPPLEMENTAL FILING. A party must:
             (1)    file the disclosure statement with its first appearance, pleading,
                    petition, motion, response, or other request addressed to the court;
                    and
             (2)    promptly file a supplemental statement if any required information
                    changes.
